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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,        )
                                 )
               Plaintiff,        )
                                 )                              8:16CR76
     vs.                         )
                                 )                               ORDER
KEITH PHELPS,JODY CASILLAS, RYAN )
GABEL, ANDREA TRACY and DONALD )
MONRRISSEY,                      )
                                 )
               Defendants.


       This matter is before the court on defendant Donald Morrissey’s unopposed motion
to continue trial [125]. Counsel has recently been appointed and needs additional time to
obtain and review discovery. The defendant has complied with NECrimR 12.1(a). For
good cause shown,

       IT IS ORDERED that the motion to continue trial is granted, as follows:

     1. The jury trial, for all defendants, currently set for July 12, 2016 is continued to
August 23, 2016.

        2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between today’s date and August 23, 2016 shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act. Failure to grant a continuance would deny counsel for the defendant the
reasonable time necessary for effective preparation, taking into account the exercise of due
diligence. 18 U.S.C. § 3161(h)(7)(A) & (B)(iv).

       DATED July 5, 2016.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge
